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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

       Plaintiff,
                                                           Hon. Janet T. Neff
 v.
                                                           Case No. 1:17-cr-00178
 JOSHUA ERIC PEARL,

       Defendant.
 ________________________________/

                      REPORT AND RECOMMENDATION


      Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the

captioned case on November 29, 2017, after receiving the written consent of

defendant and all counsel. At the hearing, defendant Joshua Eric Pearl entered a

plea of guilty to Count 1 of the Indictment in exchange for the undertakings made

by the government in the written plea agreement. In Count 1 of the Indictment,

defendant is charged with conspiracy to distribute controlled substances in violation

of 21 U.S.C. §§ 841(a)(1), (b)(1)(C) and 846.

       On the basis of the record made at the hearing, I find that defendant is fully

capable and competent to enter an informed plea; that the plea is made knowingly

and with full understanding of each of the rights waived by defendant; that it is

made voluntarily and free from any force, threats, or promises, apart from the

promises in the plea agreement; that the defendant understands the nature of the
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charge and penalties provided by law; and that the plea has a sufficient basis in

fact.

        Accordingly, I recommend that defendant's plea of guilty to Count 1 of the

Indictment be accepted, that the court adjudicate defendant guilty, and that the

written plea agreement be considered for acceptance at the time of sentencing.

Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement, and

imposition of sentence are specifically reserved for the district judge.


Date: November 30, 2017                         /s/ Phillip J. Green__________
                                               PHILLIP J. GREEN
                                               United States Magistrate Judge


                               NOTICE TO PARTIES

       You have the right to de novo review of the foregoing findings by the district
judge. Any application for review must be in writing, must specify the portions of
the findings or proceedings objected to, and must be filed and served no later
than14 days after the plea hearing. See W.D. MICH. L.CR.R. 11.1(d).




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